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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA


PSARA ENERGY, LTD.                   :
                                     :
                      Plaintiff      :
                                     :
SPACE SHIPPING, LTD.; GEDEN HOLDINGS:
LTD.; ADVANTAGE START SHIPPING,      :
LLC; GENEL DENIZCILIK NAKLIYATI A.S. :
A/K/A GEDEN LINES; ADVANTAGE         :
TANKERS, LLC; ADVANTAGE HOLDINGS, :                                 ADMIRALTY
LLC; FORWARD HOLDINGS, LLC;          :
MEHMET EMIN KARAMEHMET;              :
GULSUN NAZLI KARAMEHMET -            :
WILLIAMS; and TUĞRUL TOKGÖZ          :
                                     :
                      Defendants     :


                                ATTORNEY DECLARATION

       Pursuant to 28 U.S.C. § 1746, this declaration is executed by George A. Gaitas, counsel

for Plaintiff, PSARA ENERGY, LTD., in order to secure the issuance of a Summons and Process

of Maritime Attachment and Garnishment in the above-captioned Admiralty Cause.

       I, George A. Gaitas, declare under the penalty of perjury:

       I am a Member of the firm of GAITAS, KENNEDY & CHALOS, P.C., attorneys for

Plaintiff in the above referenced matter.

       I am familiar with the circumstances of the Original Verified Complaint, and I submit this

declaration in support of Plaintiff’s request for the issuance of Process of Maritime Attachment

and Garnishment of the property of the Defendants, SPACE SHIPPING LTD.; GEDEN

HOLDINGS, LTD.; ADVANTAGE START SHIPPING, LLC; GENEL DENIZCILIK

NAKLIYATI A.S. A/K/A GEDEN LINES; ADVANTAGE TANKERS, LLC; ADVANTAGE

HOLDINGS, LLC; FORWARD HOLDINGS, LLC; MEHMET EMIN KARAMEHMET;

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GULSUN NAZLI KARAMEHMET-WILLIAMS; and TUGRUL TOKGOZ, pursuant to Rule B

of the Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal Rules of

Civil Procedure.

        I have personally inquired or have directed inquiries into the presence of the Defendants in

this District.

        I have directed attorneys in my firm to check with the office of the Louisiana Secretary of

State, using the Secretary of State’s database, to determine whether the Defendants can be located

within this District. SPACE SHIPPING LTD.; ADVANTAGE START SHIPPING, LLC; GENEL

DENIZCILIK NAKLIYATI A.S. A/K/A GEDEN LINES; GEDEN HOLDINGS, LTD;

ADVANTAGE TANKERS, LLC; ADVANTAGE HOLDINGS, LLC; FORWARD HOLDINGS,

LLC; MEHMET EMIN KARAMEHMET; GULSUN NAZLI KARAMEHMET-WILLIAMS;

TUGRUL TOKGOZ are not registered with the Louisiana Secretary of State. Accordingly, I have

determined that, as of April 20, 2018, none of these Defendants are incorporated or registered as

foreign corporations pursuant to the laws of Louisiana, and have neither nominated nor appointed

any agent for the service of process within this District.

        I have directed attorneys in my firm to engage a search of the Superpages telephone

directory on the internet, and determined that there are no telephone listings or addresses for the

Defendants within this District.

        I have engaged in a “Google search” in order to determine whether any of the Defendants

can be located within this District. The Google search results did not provide a listing for the

named Defendants save for GEDEN HOLDINGS, LTD. for which it showed a former registration

with the Secretary of State of Louisiana, which was withdrawn in 2016, and remains inactive.




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        I am unaware of any general or managing agent(s) of the named Defendants within this

District.

        In that I have been able to determine that the Defendants have not appointed agent for

service of process within the Eastern District of Louisiana, and that I have found no indication that

the Defendant can be found within this District for the purposes of Rule B, I have formed a good

faith belief based on my own investigation and that of the attorneys under my direction that the

Defendants do not have sufficient contacts or business activities within this District and do not

have any offices or agents within this District that may defeat the conditions for issuance of process

of maritime attachment under Rule B of the Supplemental Rules for Admiralty and Maritime

Claims as set forth in the Federal Rules of Civil Procedure.

        It is my belief, based upon my investigation and that performed by attorneys in my firm

under my direction that the Defendants cannot be found within this District for purposes of Rule

B of the Supplemental Rules of Certain Admiralty and Maritime Claims of the Federal Rules of

Civil Procedure.




Dated: April 20, 2018                                 Respectfully submitted,
       Houston, Texas
                                                      Gaitas, Kennedy & Chalos, P.C.

                                               By:    _/s/ George A. Gaitas

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                                         Attorneys for Plaintiff

                                         PSARA ENERGY, LTD.




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